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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

________________________________
                                )
CARLOS H. MCKENSI,              )
                                )
            Plaintiff,          )
                                )
v.                              )                      Civil Action No. 1:09-cv-11940-JGD
                                )
BANK OF AMERICA, N.A.,          )
                                )
            Defendant.          )
________________________________)


                                STIPULATION OF DISMISSAL

       Plaintiff Carlos H. McKensi and Defendant Bank of America, N.A. hereby stipulate that

this action be dismissed, with prejudice, without interest, costs or attorneys’ fees, and that the

parties waive all rights of appeal and rights pursuant to Fed. R. Civ. P. 60.




Carlos McKensi,                                 BANK OF AMERICA, as Trustee
By his attorney,                                By its attorneys,

/s/ Matthew Forbes_________________             /s/ Richard E. Briansky________________
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Dated: October 19, 2010
